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      4
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      6
                                  IN THE UNITED STATES DISTRICT COURT FOR THE
      7
                                           NORTHERN DISTRICT OF CALIFORNIA
      8

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IV   10

     11
          HARD DRIVE PRODUCTIONS, INC,


                  v.
                           Plaintiff,
                                                         )
                                                         )
                                                         )
                                                         )
                                                                 No.

                                                                 Judge:

     12                                                  )
          JOHN DOE                                       )       COMPLAINT
     13                                                  )
                           Defendants.                   )
     14                                                  )       DEMAND FOR JURY TRIAL

     15

     16           Plaintiff Hard Drive Productions, Inc., through its undersigned counsel, hereby files this

     17   Complaint requesting damages and injunctive relief, and alleges as follows:

     18                                        NATURE OF THE CASE
     19            1.      In a previously filed action, Plaintiff sought relief against an anonymous copyright
     20   infringer associated with Internet Protocol ("IP") address 98.248.90.217. In the course of expedited
     21
          discovery, Plaintiff ascertained the identity of the account holder associated with the IP address to be
     22
          Seth Abrahams. Because the relationship between an account holder and infringer can be imperfect,
     23
          Plaintiff now files this action to complete its investigation into the infringer's identity and, if
     24

     25   necessary, to prosecute the infringer for his blatant violation of Plaintiffs copyright.

     26           2.       Plaintiff files this action for copyright infringement under the United States Copyright

     27   Act and a related civil conspiracy claim under the common law to combat the willful and intentional
     28
          infringement of its creative works. Defendant, whose name Plaintiff expects to ascertain during




                                                                                              Exhibit E
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     discovery, illegally reproduced and distributed Plaintiff's copyrighted Video by acting in concert via
 2
     the BitTorrent file sharing protocol and, upon infonnation and belief, continues to do the same.
 3
     Plaintiff seeks a pennanent injunction, statutory or actual damages, award of costs and attorney's
 4
     fees, and other relief.
 5
                                                THE PARTIES
 6
              3.       Plaintiff Hard Drive Productions, Inc., is a corporation organized and existing under
 7

 8   the laws of the State of Arizona, with its principal place of business located in Arizona. Plaintiff is

 9   the exclusive holder of the relevant rights with respect to the copyrighted creative work at issue in

to   this Complaint.
11
              4.     Plaintiff is a producer of adult entertainment content. Plaintiff invests significant
12
     capital in producing the content associated with its brand and has produced substantial numbers of
13
     videos and photographs. The copyrighted work at issue here is one of these adult videos, "Amateur
14
     Allure    Samantha Saint" (the "Video").
15
16            5.     Defendants' actual names are unknown to Plaintiff. Instead, each Defendant is known

17   to Plaintiff only by an Internet Protocol address ("IP address"), which is a number assigned to

18   devices, such as computers, connected to the Internet. In the course of monitoring Internet-based
19
     infringement of its copyrighted content, Plaintiff's agents observed unlawful reproduction and
20
     distribution occurring over IP address 98.248.90.217 via the Bit Torrent file transfer protocoL
21
     Plaintiff cannot ascertain Defendant's actual identity without limited expedited discovery.
22
                                      JURISDICTION AND VENUE
23

24            6.     This Court has subject matter jurisdiction over the copyright infringement claim

25   under 17 U.S.C. §§ 101, et seq., (the Copyright Act), 28 U.S.C. § 1331 (actions arising under the

26   laws of the United States), and 28 U.S.c. § 1338(a) (actions arising under an Act of Congress
27   relating to copyrights). This Court has supplemental jurisdiction over the civil conspiracy claim
28
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     under 28 U.S.C. § 1367(a) because it is so related to Plaintiff's copyright infringement claim, which
 2
     is within this Court's original jurisdiction, that the two claims form part of the same case and
 3
     controversy under Article III of the United States Constitution.
 4
             7.      This Court has personal jurisdiction because upon information and belief, Defendant
 5
     either resides in or committed copyright infringement in this District. Plaintiff used geolocation
 6

 7   technology to trace the IP address of the Defendant to a point of origin within the State of California.

 8   Geolocation is a method for ascertaining the likely geographic region associated with a given IP

 9   address at a given date and time. Although not a litmus test for personal jurisdiction, the use of
10
     geolocation gives Plaintiff good cause for asserting that personal jurisdiction is proper over the
11
     Defendant.
12
             8.      Venue is properly founded in this judicial district pursuant to 28 U.S.C. §§ 1391(b)
13
     and 1400(a) because Defendants reside in this District, may be found in this District, or a substantial
14

15   part of the events giving rise to the claims in this action occurred within this District.

16                                             BACKGROUND
17           9.      BitTorrent is a modern file sharing method ("protocol") used for distributing data via

18   the Internet.
19
             10.     Traditional file transfer protocols involve a central server, which distributes data
20
     directly to individual users. This method is prone to collapse when large numbers of users request
21
     data from the central server, in which case the server can become overburdened and the rate of data
22
23   transmission can slow considerably or cease altogether. In addition, the reliability of access to the

24   data stored on a server is largely dependent on the server's ability to continue functioning for

25   prolonged periods of time under high resource demands.
26           11.     Standard P2P protocols involve a one-to-one transfer of whole files between a single
27
     uploader and single downloader. Although standard P2P protocols solve some of the issues
28
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                           ALLEGATIONS COMMON TO ALL COUNTS
 2           19.    At all times relevant hereto, Plaintiff was the exclusive rights holder with respect to
 3   BitTorrent-based reproduction and distribution of the Video.
 4
            20.     The Video is the subject of an application for registration that is currently pending in
 5
     the United States Copyright Office.
 6
            21.        The torrent file used to access the copyrighted material was named in a manner that
 7

 8   would have provided an ordinary individual with notice that the Video was protected by the

9    copyright laws.

10          22.     Plaintiff employs proprietary peer-to-peer network forensic software to perform
11
     exhaustive real time monitoring of the BitTorrent-based swarm involved in distributing the Video.
12
     This software is effective in capturing data about the activity of peers in a swarm and their infringing
13
     conduct.
14
            23.     Defendant, without Plaintiffs authorization or license, intentionally downloaded a
15

16   torrent file particular to Plaintiffs Video, purposefully loaded that torrent file into his BitTorrent

17   client, entered a BitTorrent swarm particular to Plaintiffs Video, and reproduced and distributed the

18   Video to numerous third parties.
19
            24.     Plaintiff observed Defendant's activities in the torrent swarm specific to the Video
20
     and logged his IP address and the date and time of his activity.
21
                             COUNT I - COPYRIGHT INFRINGEMENT
22
            25.     Plaintiff hereby incorporates by reference each and every allegation contained in the
23
     preceding paragraphs as if fully set forth fully herein.
24

25          26.     Defendant's conduct infringes upon Plaintiffs exclusive rights of reproduction and

26   distribution that are protected under the Copyright Act.
27
28
                                                    COMPLAINT                                 CASE NO.
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              27.    Defendant knew or had constructive knowledge that his acts constituted copyright
 2   infringement.
 3
              28.    Defendant's conduct was willful within the meaning of the Copyright Act:
 4
     intentional, and with indifference to the Plaintiffs rights.
 5
              29.    Plaintiff has been damaged by Defendant's conduct, including but not limited to
 6

 7   economic and reputation losses. Plaintiff continues to be damaged by such conduct, and has no

 8   adequate remedy at law to.compensate the Plaintiff for all of the possible damages stenuning from

 9   the Defendant's conduct.
10
              30.    Plaintiff hereby reserves the right, pursuant to 17 U.S.C. § 504(c), to elect to recover
11
     statutory damages for each infringement, in lieu of seeking recovery of actual damages.
12
              31.    As Defendant's infringement was intentional and willful, the Plaintiff is entitled to an
13
     award of statutory damages, exemplary damages, attorneys' fees, and the costs of the suit.
14

15                                COUNT II - CIVIL CONSPIRACY

16            32.    Plaintiff hereby incorporates by reference each and every allegation contained in the

17   preceding paragraphs as if set forth fully herein.

18            33.    In using the peer-to-peer BitTorrent file distribution method, Defendant engaged in a
19
     concerted action with other unnamed individuals to reproduce and distribute Plaintiffs Video by
20
     exchanging pieces of the Video file in the torrent swarm.
21
              34.    Defendant and his co-conspirators downloaded a torrent file, opened it using a
22
     BitTorrent client, and then entered a torrent swann comprised of other individuals distributing and
23

24   reproducing Plaintiffs Video. In participating in said conspiratorial network, Defendant agreed with

25   others to engage in a concerted tortious action in the network to reproduce and distribute Plaintiffs

26   Video.
27

28                                                      7
                                                    COMPLAINT                                 CASE NO.
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     infringement; for an award of compensatory damages in favor of the Plaintiff and against
 2 Defendants, jointly and severally, in an amount to be detennined at trial;
 3
            5)      Judgment in favor of Plaintiff against the Defendant awarding the Plaintiff attorneys'
4
     fees, litigation expenses (including fees and costs of expert witnesses), and other costs of this action;
 5
     and
 6
 7          6)      Judgment in favor of the Plaintiff against Defendant, awarding Plaintiff declaratory

 8   and injunctive or other equitable relief as may be just and warranted under the circumstances.

 9

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13
                                                           Respectfully Submitted,
14

15                                                         PRENDA LAW INC.

16   DATED: November 20, 2011

17                                                 By:             IsLBrett..L,JlibbL . . __..
18                                                         Brett L. Gibbs, Esq. (SBN 251000)
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                                                           Attorney for Plaintiff
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                                                   COMPLAINT                                     CASE NO.
